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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                        Case No. 15-20652-12
       vs.
                                                        HON. GEORGE CARAM STEEH
D-12 JEFFERY ADAMS,

                Defendant.
_____________________________/

                 ORDER DENYING DEFENDANTS’ MOTION FOR
          REVIEW OF BOND FOR CHANGED CIRCUMSTANCES [DOC. 272]

       This matter comes before the court on defendant Jeffery Adams’ motion for

review of bond for changed circumstances. The court previously denied defendant’s

motion for bond with conditions at a hearing held July 14, 2016. At that time, defendant

sought to be placed in the home of his girlfriend pending trial. Now, defendant seeks to

have his girlfriend’s mother, Ms. Georgette Martin, appointed as a third party custodian

and informs the court that she has offered to serve in such a capacity.

       The fact that the court found defendant’s girlfriend to be an inadequate third party

custodian sufficient to guarantee defendant’s appearance in court and the safety of the

community is just one among many reasons the court denied defendant’s motion for

pretrial release. While Ms. Martin may be a more appealing candidate for third party

custodian than her daughter, the fact that she volunteered to serve in this role is

insufficient to result in a different outcome.




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      Defendant’s motion for revocation of detention order is DENIED.

      IT IS SO ORDERED.

Dated: August 16, 2016
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                     August 16, 2016, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




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